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 4
     Attorney for Defendant
 5   GARY JASON GRANT
 6
                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,
                                                        Case No. 10-CR-00237 GEB
11                  Plaintiff,

12   v.
                                                        REQUEST FOR ORDER AND PROPOSED
13                                                      ORDER EXONERATING BOND
     GARY JASON GRANT, et al.,
14
                    Defendants.
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             On October 6, 2010, the court ordered Mr. Grant released on a $100,000 bond, $50,000 of
18
     which was to be secured by real property at 1145 Stockton Avenue, South Lake Tahoe, California.
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     A deed of trust for the property was subsequently recorded with El Dorado County and filed with
20
     this court on December 21, 2010.
21
             On April 19, 2013, Mr. Grant was sentenced to serve 47 months in prison.
22
             Accordingly, as Mr. Grant is currently incarcerated and serving his sentence, he respectfully
23
     requests that the court exonerate the bond posted to secure his release and that the clerk of the court
24
     be directed to reconvey the deed of trust back to the Trustors, Gary Grant and Karen Lopez Grant.
25
     Dated: April 24, 2013                                 Respectfully Submitted,
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27
                                                               /s/ Erin J. Radekin
28                                                         ERIN J. RADEKIN
                                                           Attorney for Defendant
                                                           GARY JASON GRANT
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 1                                                  ORDER
 2          Good cause appearing,
 3          IT IS HEREBY ORDERED that the bond in the amount of $100,000, $50,000 of which is
 4   secured by the property at 1145 Stockton Avenue, South Lake Tahoe, California, be exonerated, and
 5   the clerk is directed to reconvey the deed of trust for said property back to the Trustors, Gary Grant
 6   and Karen Lopez Grant.
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 8   Dated: April 25, 2013

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10                                               GARLAND E. BURRELL, JR.
                                                 Senior United States District Judge
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